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                            No. 24-7246
__________________________________________________________________

            IN THE UNITED STATES COURT OF APPEALS
                    FOR THE NINTH CIRCUIT


        UNION GOSPEL MISSION OF YAKIMA, WASHINGTON,

                                       Plaintiff-Appellee,

                                      v.

     ROBERT FERGUSON, in his official capacity as Attorney General of
      Washington, ANDRETA ARMSTRONG, in her official capacity as
          Executive Director of the Washington State Human Rights
       Commission; and GUADALUPE GAMBOA, HAN TRAN, JEFF
        SBAIH, LUC JASMIN, and CHELSEA DIMAS, in their official
      capacities as Commissioners of the Washington State Human Rights
                                 Commission

                                           Defendants-Appellants.

      ON APPEAL FROM THE UNITED STATES DISTRICT COURT
     FOR THE EASTERN DISTRICT OF WASHINGTON AT YAKIMA
                          No. 1:23-cv-3027
                        Hon. Mary K. Dimke
                  United States District Court Judge


  BRIEF OF AMICI CURIAE AMERICAN CIVIL LIBERTIES UNION,
   AMERICAN CIVIL LIBERTIES UNION OF WASHINGTON, AND
AMERICANS UNITED FOR SEPARATION OF CHURCH AND STATE IN
    SUPPORT OF DEFENDANTS-APPELLANTS AND REVERSAL



                        (Counsel listed on next page)
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                 CORPORATE DISCLOSURE STATEMENT

      Pursuant to Rules 26.1 and 29(a)(4)(A) of the Federal Rules of Appellate

Procedure, Amici Curiae state that they do not have a parent corporation and that no

publicly held corporation owns ten percent or more of their stock.



Date: January 6, 2025                        /s/ Joshua Block
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              STATEMENT OF INTEREST OF AMICI CURIAE 1

      The American Civil Liberties Union Foundation (“ACLU”) is a nationwide,

nonprofit, nonpartisan organization with nearly two million members and supporters

dedicated to the principles of liberty and equality embodied in the Constitution. The

ACLU of Washington (“ACLU-WA”) is one of the ACLU’s statewide affiliates with

over 120,000 members and supporters. As organizations that advocate for religious

freedom and free speech, as well as equal rights for people of different faiths,

genders, sexual orientations, and races, among others, the ACLU and the ACLU-WA

have a strong interest in the application of proper standards when evaluating

constitutional challenges to civil rights laws.

      The ACLU and ACLU-WA have appeared as direct counsel or amicus in many

cases nationwide involving religious liberties and equality. See, e.g., State v. Arlene’s

Flowers, Inc., 193 Wash. 2d 469 (2019) (en banc) (counsel); Fulton v. City of

Philadelphia, 593 U.S. 522 (2021) (counsel); Masterpiece Cakeshop, Ltd. v. Colo.

C.R. Comm’n, 584 U.S. 617 (2018) (counsel); Olympus Spa v. Armstrong, No. 23-

4031 (9th. Cir. appeal docketed Dec. 8, 2023) (amicus); Mahmoud v. McKnight, 102


1
  Under Fed. R. App. P. 29(a)(2), Amici submit this brief without an accompanying
motion for leave to file because all parties have consented to its filing. Under Fed.
R. App. P. 29(a)(4)(E), Amici state that: (i) neither party’s counsel authored the brief
in whole or in part; (ii) neither party, nor their counsel, contributed money that was
intended to fund preparing or submitting the brief; and (iii) no person other than
Amici, their members, or their counsel contributed money that was intended to fund
preparing or submitting the brief.
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F.4th 191 (4th Cir. 2024), pet. for cert. filed, No. 24-297 (U.S. Sep. 16, 2024)

(amicus); Fitzgerald v. Roncalli High Sch., Inc., 73 F.4th 529 (7th Cir. 2023)

(amicus); McMahon v. World Vision, Inc., No. 24-3259 (9th Cir. appeal docketed

May 22, 2024) (amicus).

      Americans United for Separation of Church and State (“Americans United”)

is a national, nonpartisan organization that for over seventy-five years has brought

together people of all faiths and the nonreligious who share a deep commitment to

religious freedom as a shield to protect but never a sword to harm others. Americans

United frequently appears as amicus and counsel in cases concerning religious

exemptions and discrimination. See, e.g., Mid Vermont Christian Sch. v. Bouchey,

No. 24-1704 (2d Cir. appeal docketed June 27, 2024) (amicus); McMahon v. World

Vision, Inc., No. 24-3259 (9th Cir. appeal docketed May 22, 2024) (amicus); Nelson

v. Louisville-Jefferson Cnty. Metro Gov’t, Nos. 22-5884, 22-5912, 2024 WL 1638860

(6th Cir. Apr. 16, 2024) (amicus); Fellowship of Christian Athletes v. San Jose

Unified Sch. Dist., 82 F.4th 664 (9th Cir. 2023) (en banc) (counsel). Americans

United thus has an interest in ensuring that antidiscrimination protections are not

eroded through the misuse of the Free Exercise Clause.




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                                 INTRODUCTION

      In an unprecedented ruling, the district court held that the Free Exercise

Clause entitles employers to violate the Washington Law Against Discrimination

(the “WLAD”) if they have a sincere religious objection to complying. According to

the district court, because the WLAD—like Title VII and countless other laws and

regulations for employers—has an exemption for small employers (whether

religious or secular) with fewer than a particular number of employees, the Free

Exercise Clause requires a similar exemption for large employers who wish to

discriminate for religious reasons. 1-ER-010, 013.

      The district court is wrong. Under the Supreme Court’s holding in

Employment Division v. Smith, 494 U.S. 872 (1990), government regulations that

“incidentally burden[] religion are ordinarily not subject to strict scrutiny under the

Free Exercise Clause so long as they are neutral and generally applicable.” Fulton v.

City of Philadelphia, 593 U.S. 522, 533 (2021) (citing Smith, 494 U.S. at 878–82).

To assess whether a particular regulation is neutral and generally applicable, the

Supreme Court has instructed courts to determine whether the regulation treats “any

comparable secular activity more favorably than religious exercise” when “judged

against the asserted government interest that justifies the regulation at issue.” Tandon

v. Newsom, 593 U.S. 61, 62 (2021) (per curiam) (emphasis omitted). If a secular

exemption undermines the governmental interest to “a similar or greater degree”

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than a religious exemption would, then the law is not neutral and generally

applicable, and it must be subjected to strict scrutiny. Church of Lukumi Babalu Aye,

Inc. v. City of Hialeah, 508 U.S. 520, 543 (1993). If, however, the regulation treats

comparable secular and religious activity the same way, then rational basis is the

proper standard of review. Id. at 531 (“[A] law that is neutral and of general

applicability need not be justified by a compelling governmental interest even if the

law has the incidental effect of burdening a particular religious practice.”); accord.

Grace United Methodist Church v. City of Cheyenne, 451 F.3d 643, 649 (10th Cir.

2006) (“[A] law that is both neutral and generally applicable need only be rationally

related to a legitimate governmental interest to survive a constitutional challenge.”).

      Evaluated against Washington’s interest in the “elimination and prevention of

discrimination in employment” advanced by the WLAD, Wash. Rev. Code. Ann.

§ 49.60.010 (West 2023), an exemption for large religious employers like

Appellee—which has more than 150 employees (3-ER-304)—is not comparable to

the WLAD’s existing exemption for employers with fewer than eight employees.

Wash. Rev. Code. Ann. § 49.60.040(11) (West 2023) In exempting small employers,

the WLAD drafters intended to concentrate the WLAD’s substantive protections, as

well as the protective enforcement power of the Washington State Human Rights

Commission (“Commission”), on employers whose discriminatory actions affect the

greatest number of people. See Wash. Rev. Code Ann. § 49.60.050 (West 2023)

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(provision of WLAD creating the Commission). If an exempt small employer

(whether religious or secular) chooses to adopt a discriminatory policy, that

employer’s discrimination would affect a maximum of seven employees. But if a

larger employer (whether religious or secular) chooses to adopt a discriminatory

policy, that employer’s discrimination would affect many more people. Because a

large employer that discriminates would harm more people than a small employer

that discriminates, an exemption for large religious employers would undermine the

WLAD’s interest in eradicating discrimination much more aggressively than the

existing exemption for small employers.

      Affirming the district court’s conclusion would effectively strip an enormous

number of employees of critical antidiscrimination protections. That would include

not only employees of religious organizations but also the thousands of employees

of the religiously affiliated hospitals that account for nearly half of the hospital beds

in the state and all those who work for the myriad religiously affiliated charities,

among others. See Christine Clarridge, How His Twin Brother’s Deathbed Plea Was

a Call to Action for Washington State’s Insurance Commissioner, Seattle Times (Oct.

18, 2021, 8:00 AM), https://perma.cc/GCP9-B5FB (finding that forty-five percent

of Washington’s hospital beds are run by religious healthcare systems). The untold

number of employees put at risk by such reasoning only grows when accounting for

secular businesses whose owners have their own religious objections to the WLAD

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and who might also be able to assert free-exercise claims to escape compliance.

Beyond the realm of employment discrimination law, the district court’s logic

threatens to exempt religious employers from a vast number of regulations in myriad

areas of law, since all it would take is one secular exemption to trigger—and fail—

strict-scrutiny analysis. That cannot be the law.

 I.   The WLAD’s Prohibition of Employment Discrimination Is a Neutral
      and Generally Applicable Law Under Smith.

      Under Smith, government regulations “are ordinarily not subject to strict

scrutiny under the Free Exercise Clause so long as they are neutral and generally

applicable.” Fulton, 593 U.S. at 533 (citing Smith, 484 U.S. at 878–82). But

“government regulations are not neutral and generally applicable, and therefore

trigger strict scrutiny under the Free Exercise Clause, whenever they treat any

comparable secular activity more favorably than religious exercise.” Tandon, 593

U.S. at 62. “[W]hether two activities are comparable for purposes of the Free

Exercise Clause must be judged against the asserted government interest that

justifies the regulation at issue.” Id. Thus, a law “lacks general applicability if it

prohibits religious conduct while permitting secular conduct that undermines the

government’s asserted interests in a similar way.” Fulton, 593 U.S. at 534.

      Under these standards, the WLAD’s prohibition on employment

discrimination is a neutral and generally applicable law. Like many other

employment laws and regulations, the WLAD exempts small employers with fewer
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than a certain number of employees. Wash. Rev. Code. Ann. § 49.60.040(11) (West

2023) (exempting employers with fewer than eight employees). But “the mere

existence of a secular exemption is not sufficient to establish a claim for a religious

exemption.” Denver Bible Church v. Polis, No. 20-1391, 2022 WL 200661, at *9

(10th Cir. Jan. 24, 2022). A secular exemption requires a religious exemption only

when it undermines the governmental interests to “a similar or greater degree” than

a religious exemption would. Lukumi, 508 U.S. at 543. The WLAD’s existing

exemption for small employers (whether religious or secular) with fewer than eight

employees undermines Washington’s interest in eliminating discrimination to some

extent—but an exemption for large religious employers would undermine those

interests far more aggressively. Small employers and large religious employers are

thus not “comparable” when “judged against the asserted government interest that

justifies the regulation at issue.” Tandon, 593 U.S. at 62.

      A. Neutral and Generally Applicable Employment Laws Frequently
         Distinguish Between Small and Large Employers.

      Antidiscrimination laws, along with other labor and employment regulations,

are archetypical examples of the type of neutral and generally applicable laws that

are usually not subject to strict scrutiny under the Free Exercise Clause. See Smith,

494 U.S. at 889 (citing “laws providing for equality of opportunity for the races” and

“social welfare legislation such as minimum wage laws” as examples of generally

applicable laws that should receive rational-basis review). A commonplace feature
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of such laws—including the WLAD—is that they distinguish between small and

large employers. At least thirty other states have employment discrimination laws

that exempt employers with fewer than a threshold number of employees from the

scope of the laws’ coverage. 2 And Title VII has a similar provision limiting coverage

to employers with fifteen or more employees. See 42 U.S.C. § 2000e(b). 3


2
  See, e.g., Ala. Code § 25-1-20(2) (2023) (exempting employers with fewer than
twenty employees); Ariz. Rev. Stat. Ann. § 41-1461(7)(a) (2023) (same re employers
with fewer than fifteen employees); Ark. Code Ann. § 16-123-102(7) (West 2023)
(same re nine employees); Cal. Gov’t Code § 12926(d) (West 2023) (same re five);
Del. Code Ann. tit. 19, § 710(7) (2023) (same re four); Fla. Stat. Ann. § 760.02(7)
(West 2023) (same re fifteen); Ga. Code Ann. § 45-19-22(6) (West 2023) (same re
fifteen); Idaho Code Ann. § 67-5902(6) (West 2023) (same re five); Ind. Code § 22-
9-1-3(h) (2023) (same re six); Kan. Stat. Ann. § 44-1002(b) (2024) (same re four);
Ky. Rev. Stat. § 344.030(2) (West 2023) (same re eight); La. Stat. Ann. § 23:302(2)
(2023) (same re twenty); Md. Code Ann., State Gov’t § 20-601(d)(1)(i)(2) (West
2023) (same re fifteen); Mass. Gen. Laws ch. 151B, § 1(5) (2023) (same re six); Mo.
Rev. Stat. § 213.010(8) (2023) (same re six); Neb. Rev. Stat. § 48-1102(2) (2023)
(same re fifteen); Nev. Rev. Stat. § 613.310(2) (2023) (same re fifteen); N.H. Rev.
Stat. Ann. § 354-A:2(VII) (2023) (same re six); N.M. Stat. Ann. § 28-1-2(B) (2023)
(same re four); N.C. Gen. Stat. Ann. § 143-422.2(a) (West 2023) (same re fifteen);
Ohio Rev. Code Ann. § 4112.01(2) (West 2023) (same re four); 43 Pa. Cons. Stat.
§ 954(b) (2023) (same re four); 28 R.I. Gen. Laws Ann. § 28-5-6(9)(i) (2023) (same
re four); S.C. Code Ann. § 1-13-30(e) (2024) (same re fifteen); Tenn. Code Ann. § 4-
21-102(5) (West 2023) (same re eight); Tex. Lab. Code Ann. § 21.002(8)(A) (2023)
(same re eight); Utah Code Ann. § 34A-5-102(1)(i)(i)(D) (West 2023) (same re
fifteen); Va. Code Ann. § 2.2-3905(A) (West 2023) (same re fifteen); W. Va. Code
§ 16B-17-3(d) (2023) (same re twelve); Wyo. Stat. Ann. § 27-9-102(b) (West 2023)
(same re two).
3
  Indeed, “[t]he practice of exempting small firms from employment laws began long
before Title VII,” dating back to “[e]arly occupational safety laws and workers’
compensation laws,” as well as “New Deal-era laws such as the Wagner Act and Fair
Labor Standards Act of 1938.” Richard Carlson, The Small Firm Exemption & the
Single Employer Doctrine in Employment Discrimination Law, 80 St. John’s L. Rev.
1197, 1197–98 (2006).
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      A common rationale for these provisions is that they focus the law’s impact

and the government’s enforcement power on employers whose labor practices have

a greater effect on the labor market. As the Washington State Supreme Court has

explained, one purpose of the WLAD’s small-employer exemption was, “[i]n the

interest of cost effectiveness, to confine public agency enforcement of the law to

employers whose practices affect a substantial number of persons.” Griffin v. Eller,

922 P.2d 788, 792 (Wash. 1996) (en banc) (citation omitted); see also Bennett v.

Hardy, 784 P.2d 1258, 1265 (Wash. 1990) (en banc) (same).

      Similar    motivations    underlie   small-employer    exemptions    in   other

employment discrimination statutes. See, e.g., Carlson, supra, at 1268 (canvassing

Title VII’s legislative history and concluding that “[t]he solution [to fears of

inconsistent and difficult enforcement] was to approve an agency of limited size and

mandate to target cases yielding the greatest impact and the greatest number of

employment opportunities for minorities”—hence Title VII’s own small-employer

exemption); 110 Cong. Rec. S13085–86 (daily ed. June 9, 1964) (Senator Cotton

worrying that a “small army” would be required “[i]f it bec[a]me necessary to

investigate every complaint” and that “enforcement would become well nigh

impossible; and the enforcement which did occur would be found to be spotty”); id.

at S13081 (Senators Clark and Case relying on small-employer exemption to assure

Congress that the Equal Employment Opportunity Commission would be able to

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operate efficiently); Robinson v. Fair Emp. & Hous. Comm’n, 825 P.2d 767, 773

(Cal. 1992) (explaining that California’s Fair Employment and Housing Act contains

a small-employer exemption because “by looking to the number of employees on

the payroll the enforcement agency is able to channel its resources into enforcement

where job opportunities will be maximized,” which is “consistent with the purpose

of the legislation”).

      B. The Harm Caused by An Exemption for Small Employers—Whether
         Religious or Secular—Is Not Similar to the Harm Caused by an
         Exemption for Large Religious Employers.

      The WLAD’s exception for small employers does not undermine the statute’s

neutrality and general applicability under Smith. The WLAD’s exemption for

employers with fewer than eight employees applies equally to all types of small

employers, whether religious or secular. Thus, the WLAD equally regulates large

religious and large secular employers, and equally exempts small religious and small

secular employers. As another district court in this Circuit has explained, “the mere

existence of an exemption for all small employers—religious and secular alike—

does not transform Title VII and WLAD from neutral and generally applicable laws

into those triggering strict scrutiny.” McMahon v. World Vision, Inc., 704 F. Supp.

3d 1121, 1142–43 (W.D. Wash. 2023), appeal filed, No. 24-3259 (9th Cir. May 22,

2024); cf. Kane v. De Blasio, 19 F.4th 152, 166 (2d Cir. 2021) (“[N]either the




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Supreme Court . . . nor any other court of which we are aware has ever hinted that a

law must apply to all people, everywhere, at all times, to be ‘generally applicable.’”).

      Without acknowledging contrary precedent, the district court in this case

reached a different result based on a misapplication of Tandon. The court reasoned

“[t]hat certain secular employers are shielded from WLAD enforcement and

religious organizations are not—except with respect to ministerial positions—likely

undermines the statute’s stated interest in ‘eliminat[ing]’ and ‘prevent[ing]’

discrimination.” 1-ER-010 (quoting Wash. Rev. Code. Ann. § 49.60.010 (West

2023)) (alterations in original). It thus required Appellants to extend an exemption

from the WLAD to all religious employers, on the theory that the WLAD’s small-

employer exemption “put[s] for-profit, non-religious organizations on unequal

footing with Plaintiff and other religious organizations like it.” Id.

      That was error. The question in determining whether a law is neutral and

generally applicable is not whether an existing exception undermines “the asserted

government interest that justifies” the statute in a vacuum. Rather, the question is

whether the exception “endangers these interests [to] a similar or greater degree”

than a religious exemption would. Lukumi, 508 U.S. at 543. Thus, in Tandon, the

Court explained that California’s COVID restrictions would have been neutral and

generally applicable if the secular activities permitted by the restrictions “pose[d]




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lesser risk of transmission than applicants’ proposed religious exercise at home.” 593

U.S. at 63 (emphasis omitted).

      Here, even if the WLAD’s exception for small employers with fewer than

eight employees undermines Washington’s interest in eliminating discrimination to

some extent, an exemption for large religious employers would undermine those

interests to a far greater degree. To illustrate, a small employer’s discrimination

exposes, at maximum, seven people to discrimination. By contrast, an exemption for

Appellant, who employs over 150 people, would expose at least ten times that to

discrimination. 3-ER-228 (Appellant “employs more than 150 likeminded

believers”); accord. 3-ER-251, 3-ER-304. 4 An exemption for large religious

employers thus undermines the governmental interest underlying the WLAD in a

way that the small-employer exemption simply does not. See Tandon, 593 U.S. at 62

(“Comparability is concerned with the risks various activities pose, not the reasons”


4
  Other religious employers in Washington are even larger. For instance, Providence
Health & Services (“Providence”) is a Catholic healthcare system whose stated
mission is, “[a]s expressions of God’s healing love, witnessed through the ministry
of Jesus,” to be “steadfast in serving all, especially those who are poor and
vulnerable.” See Our Mission, Providence, https://perma.cc/668C-EKHH (last
visited Jan. 2, 2024). Providence is also the sixth-largest employer in the state of
Washington, with approximately 120,000 employees. See Leading Companies
Headquartered in Washington in the United States in 2024, by Number of
Employees, Statista (Mar. 2024), https://perma.cc/3WJU-UY3A. To allow
Providence to circumvent the WLAD would substantially undermine the
legislature’s interest in focusing on regulating Washington “employers whose
practices affect a substantial number of persons” by exposing tens of thousands of
employees to potential discrimination. Griffin, 922 P.2d at 792.
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those activities are undertaken.); see also Doe v. Cath. Relief Servs., 618 F. Supp. 3d

244, 255–56 (D. Md. 2022) (rejecting similar argument with respect to, inter alia,

Title VII’s small-employer exemption and distinguishing Tandon because unless the

party can establish that “businesses with 15 or fewer employees” are “comparable

to the religious activity of a social services nonprofit with over 7000 employees,”

“no such relatively close comparison” exists), opinion vacated in part on

reconsideration on other grounds, Civil No. CCB-20-1815, 2023 WL 155243 (D.

Md. Jan. 11, 2023).

      Sanctioning such large-scale discrimination runs directly against the intent of

the drafters of the WLAD, whose priority was efficient and productive prosecution

of larger-scale employment discrimination. See supra Section I.A. In fact, it is

reasonable to see the small-employer exemption here as advancing the WLAD’s

interest in eliminating discrimination—rather than undermining it, even

minimally—by ensuring that enforcement is concentrated on larger-scale instances

of discrimination. Cf. Doe v. San Diego Unified Sch. Dist., 19 F.4th 1173, 1178 (9th

Cir. 2021) (explaining that a school district’s vaccine mandate was generally

applicable, despite its medical exemption, because the medical exemption “serve[d]

the primary interest for imposing the mandate—protecting student ‘health and




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safety’—and so [did] not undermine the District’s interests as a religious exemption

would”). 5

                                    *      *      *

      Rational basis is thus the proper standard of review for the WLAD. The

district court “need not engage in a strict scrutiny analysis that would apply if a truly

comparable secular institution were being treated favorably compared to” Appellee.

Cath. Relief Servs., 618 F. Supp. 3d at 256.




5
 This Court’s holding in San Diego is consistent with that of other circuits. See Does
1-6 v. Mills, 16 F.4th 20, 30–31 (1st Cir. 2021) (“Providing a medical exemption
does not undermine any of [the state’s] three goals, let alone in a manner similar to
the way permitting an exemption for religious objectors would,” and “[n]o case in
this circuit and no case of the Supreme Court holds that a single objective exemption
renders a rule not generally applicable”); Spivack v. City of Philadelphia, 109 F.4th
158, 174 (3d Cir. 2024) (medical exemption did not “undermine[] the government’s
asserted interests like a religious exemption would”); We the Patriots USA, Inc. v.
Conn. Off. of Early Childhood Dev., 76 F.4th 130, 151 (2d Cir. 2023), cert. denied,
144 S. Ct. 2682 (2024) (“medical but not religious exemptions serve” state’s purpose
“to protect the health and safety of Connecticut students and the broader public”);
We the Patriots USA, Inc. v. Hochul, 17 F.4th 266, 287 (2d Cir.), opinion clarified,
17 F.4th 368 (2d Cir. 2021) (the “medically ineligible” are “substantially
distinguish[able]” “from the religious objectors in light of the State’s asserted
purposes”); accord. Chavez v. San Francisco Bay Area Rapid Transit Dist., 723 F.
Supp. 3d 805, 813–14 (N.D. Cal. 2024) (“Nor does the medical exemption
undermine general applicability. Courts confronted with well-defined medical
exemptions to COVID-19 mandates have held that the existence of such an
exemption does not trigger strict scrutiny.”) (citing Does 1-6, 16 F.4th at 30–31, and
We the Patriots, 17 F.4th at 284–88).
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II.   The District Court’s Approach to General Applicability Has No
      Limiting Principle and Is Inconsistent with Smith Itself.

      The district court’s conclusion that religious employers should be

categorically exempted from the WLAD on the basis of its small-employer exception

would have far-reaching consequences. To excuse all of these employers for liability

from every kind of discrimination the WLAD enumerates—including discrimination

based not just on sexual orientation, but also race, sex, national origin, and so on—

would license an enormous amount of otherwise illegal discrimination.

      The radical shift that Appellee seeks would risk removing critical protections

against discrimination from a significant portion of Washingtonian employees. The

shift would, for example, risk denying these protections to employees in nearly 50%

of the hospitals across the state—and up to 100% of the hospitals in certain counties.

See Clarridge, supra (finding that 45% of Washington’s hospital beds are run by

religious healthcare systems, including 100% of hospital beds in Whatcom, Stevens,

San Juan, and Cowlitz counties, and that Washington has the second-highest

percentage of hospital beds in Catholic institutions out of all fifty states).

      And the reach could extend even further. First, the district court’s reasoning

could apply to all the employees who work for secular businesses whose owners

have religious objections to complying with the WLAD. Those secular employers—

not just religious organizations—might be able to assert free exercise claims and

argue that the WLAD is not neutral and generally applicable. Cf. Burwell v. Hobby
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Lobby Stores, Inc., 573 U.S. 682 (2014). Second, because exclusions for small

employers are commonplace in many different workplace laws and regulations (as

discussed above), the reasoning employed by the district court here would mean that

all those laws are subject to—and fail—strict scrutiny too. These risks would run to

employees in Washington, as well as in Arizona, California, and Idaho. See Ariz.

Rev. Stat. Ann. § 41-1461(7)(a) (2023) (exempting employers with fewer than

fifteen employees); Cal. Gov’t Code § 12926(d) (West 2023) (same re employers

with fewer than five employees); Idaho Code Ann. § 67-5902(6) (West 2023)

(same).

      By the district court’s logic here, even the ordinance at issue in Smith—which

prohibited the use of peyote—would fail a neutrality-and-general-applicability test

because the prohibition had a medical exemption. San Diego, 19 F.4th at 1178 (citing

Smith for the proposition that “state law prohibiting possession of a controlled

substance, but containing exception for substances prescribed by a medical

practitioner, was generally applicable”).

      Indeed, it is difficult to think of any law that does not have any exception

whatsoever. For instance, trespass laws in property have exceptions—for adverse

possession, necessity, etc. The duty to testify when subpoenaed has exceptions—for

spousal privileges, doctor-patient communications, attorney-client privileges, trade

secrets, and so on. State assault weapons bans generally exempt law enforcement

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officers, military personnel, and those who obtained the weapon lawfully before the

ban took effect. See, e.g., Mass. Gen. Laws ch. 140, § 131M (2023); N.Y. Penal Law

§ 265.00 (McKinney 2023). Federal and state tax codes, health and safety codes, and

labor codes are similarly rife with exceptions. Indeed, some well-known statutes are

mostly comprised of exemptions, and simply contain a single broad operative

section. See, e.g., 17 U.S.C. §§ 106, 107–122 (Copyright Act, featuring a single

operative section followed by more than fifteen sections of exceptions); 33 U.S.C.

§§ 1251–1387, 1311(a) (Clean Water Act following a similar structure); see

generally Eugene Volokh, My Argument for Preserving Employment Division v.

Smith, Reason.com (May 26, 2020, 11:53 AM), https://perma.cc/RRB5-ZBY4

(discussing these and other secular exemptions).

       Even more concerningly, sanctioning the district court’s reasoning would not

only automatically trigger strict scrutiny for laws with these exemptions, but it

would also set up these laws to automatically fail strict scrutiny because of their

underinclusiveness. The district court’s opinion here is proof of this threat. Not only

did it hold that the WLAD “likely is not neutral and generally applicable” because

of its small-employer exemption, but it further held that the “WLAD likely is also

impermissibly underinclusive” and thus “likely fails to satisfy strict scrutiny”

because, again, it “exempts employers with less than eight employees.” 1-ER-010,

013.

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      That regime of presumptive unconstitutionality is exactly the result that Smith

sought to avoid:

      Precisely because ‘we are a cosmopolitan nation made up of people of almost
      every conceivable religious preference,’ and precisely because we value and
      protect that religious divergence, we cannot afford the luxury of deeming
      presumptively invalid, as applied to the religious objector, every regulation of
      conduct that does not protect an interest of the highest order. The rule
      respondents favor would open the prospect of constitutionally required
      religious exemptions from civic obligations of almost every conceivable
      kind . . . .

Smith, 494 U.S. at 888 (quoting Braunfeld v. Brown, 366 U.S. 599, 606 (1961)). The

decision below cannot be reconciled with these principles. The decision misapplies

the standard for general applicability and threatens to subject to strict scrutiny—and

then strike down—a vast number of government regulations, across nearly all areas

of law. This Court should reverse.

                                  CONCLUSION

      For the reasons above, the district court’s preliminary injunction order should

be reversed.

Date: January 6, 2025                      Respectfully submitted,

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